                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                               No. 15-CR-2050-LRR
 vs.                                               ORDER REGARDING
                                              MAGISTRATE’S REPORT AND
 MINDY JO WITTROCK,                                RECOMMENDATION
                                               CONCERNING DEFENDANT’S
                Defendant.                            GUILTY PLEA
                                 ____________________

                       I. INTRODUCTION AND BACKGROUND
        On November 17, 2015, a one-count Indictment was filed against Defendant Mindy
Jo Wittrock. On February 12, 2016, Defendant appeared before United States Chief
Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 1 of the Indictment.
On February 12, 2016, Judge Scoles filed a Report and Recommendation in which he
recommended that the court accept Defendant’s guilty plea. On February 12, 2016,
Defendant filed a Waiver of Objections to Report and Recommendation. The court,
therefore, undertakes the necessary review of Judge Scoles’s recommendation to accept
Defendant’s plea in this case.
                                    II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the
               findings or recommendations made by the magistrate judge.

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for


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review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge must determine de novo any part of the
              magistrate judge's disposition that has been properly objected
              to. The district judge may accept, reject, or modify the
              recommended disposition; receive further evidence; or return
              the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
February 12, 2016, and ACCEPTS Defendant’s plea of guilty to Count 1 of the
Indictment.
      IT IS SO ORDERED.
      DATED this 12th day of February, 2016.




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